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                       IN T H E UNITED S T A T E S D I S T R I C T C O U R T
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                   A B I L E N E DIVISION

A L A I N C A S T I L L O AND                  §
JESSICA CASTILLO,                              §
                                               §
        Plaintiffs,                            §
                                               §
                                                                 No.
V.                                             §
                                               §
STATE FARM LLOYDS                              §                 J U R Y DEMAND
                                               §
        Defendant.                             §

             DEFENDANT S T A T E F A R M L L O Y D S ' N O T I C E OF R E M O V A L

TO THE HONORABLE COURT:

        Pursuant to 28 U.S.C. §§ 1441 and 1446, State Farm Lloyds ("State Farm" or

"Defendant") files this Notice of Removal to the United States District Court for the Northern

District of Texas, Abilene Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                    I.
                         F A C T U A L AND P R O C E D U R A L BACKGROUND

        1.     On February 18, 2015, Plaintiffs Alain Castillo and Jessica Castillo filed their

Original Petition in the matter styled Alain Castillo and Jessica Castillo v. State Farm Lloyds,

Cause No. 26262-B, in the 104th Judicial District Court in and for Taylor County, Texas. The

lawsuit arises out of a claim Plaintiffs made for damages to their home under a homeowner's

insurance policy with State Farm Lloyds.

        2.     Plaintiffs served State Farm with a copy of the Original Petition on or about

March 5, 2015. See Exhibit G.




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            3.   State Farm files this notice of removal within 30 days of receiving Plaintiffs'

pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action.

        4.       A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).          A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiffs.

        5.       As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit " A " is an

Index of State Court Documents, a copy of the Docket Sheet is attached as Exhibit " B , " a copy

of Plaintiffs' Original Petition is attached as Exhibit "C," a copy of the Civil Case Information

Sheet is attached as Exhibit "D." Plaintiffs request for preparation of Citation for Service upon

State Farm Lloyds is attached as Exhibit "E," the Citation for Service is attached as Exhibit "F,"

Officer's Return is attached as Exhibit "G," and a copy of State Farm Lloyds' Original Answer is

attached as Exhibit "H."

        6.       Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Taylor County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                  II.

                                      BASIS F O R R E M O V A L

        7.       Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446.

A.      The Parties Are Of Diverse Citizenship

        8.       Plaintiffs are, and were at the time the lawsuit was filed, residents and citizens of

Texas. See Pi's Original Pet., Exhibit C, f 3.

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        9.       Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under

Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are, citizens and residents of the

states of Illinois, Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm        Lloyd's,

1998 WL 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

        10.      Because Plaintiffs are citizens of Texas and Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, complete diversity of citizenship exists among the parties.

B.      The Amount in Controversy Exceeds $75,000.00

        11.      This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition expressly alleges that "Plaintiff seeks monetary relief over $100,000.00 but

not more than $200,000.00." See Exhibit C f 70. Thus, the express allegations in the Petition

exceed the amount in controversy threshold of $75,000.00.

                                                III.

                                      Conclusion and Prayer

        13.      A l l requirements are met for removal under 28 U.S.C. §§ 1332 and 1441.

Accordingly, Defendant State Farm Lloyds hereby removes this case to this Court for trial and

determination.



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                                             Respectfully submitted,

                                             /s/ Rhonda J. Thompson
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                                             C O U N S E L F O R DEFENDANT
                                             STATE FARM LLOYDS


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 1, 2015 a true and correct copy of the foregoing has been
forwarded to counsel of record in accordance with Rule 5(b)(2) Federal Rules of Civil
Procedure:

       Via: Facsimile and Email
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